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1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF PUERTO RICO
                                                  HATO REY (SAN JUAN) DIVISION


              In re:                                        §
                                                            §
              CORAL CORPORATION                             §      Case No. 12-00207
                                                            §
                                  Debtor                    §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                     WIGBERTO LUGO-MENDER, TRUSTEE                    , chapter 7 trustee, submits this Final
              Account, Certification that the Estate has been Fully Administered and Application to be
              Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 7,718,385.17                        Assets Exempt: NA
              (Without deducting any secured claims)

              Total Distributions to Claimants: 61,231.52           Claims Discharged
                                                                    Without Payment: NA

              Total Expenses of Administration: 490,273.97


                      3) Total gross receipts of $ 551,505.49 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 551,505.49 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                 CLAIMS                 CLAIMS
                                                SCHEDULED         ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                         $ NA         $ 18,926.83                  $ 0.00                  $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA          490,273.97             490,273.97            490,273.97

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                 NA                     NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  NA                 NA                     NA                       NA

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                            921,674.66        2,778,307.86           2,778,307.86                61,231.52

TOTAL DISBURSEMENTS                               $ 921,674.66     $ 3,287,508.66         $ 3,268,581.83          $ 551,505.49


                 4) This case was originally filed under chapteron 01/17/2012 , and it was converted to
          chapter 7 on 06/20/2012 . The case was pending for 64 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 09/08/2017                        By:/s/WIGBERTO LUGO-MENDER, TRUSTEE
                                                                        Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                            EXHIBITS TO
                                                          FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                   $ AMOUNT
                                                                          TRAN. CODE1                                RECEIVED

               Rental income                                                 1122-000                                     90,758.21

         Post-Petition Interest Deposits                                     1270-000                                          178.73

     Cash Collateral to satisfy certain operating                            1290-000                                     50,272.98

           Claim under case 11-10609                                         1290-000                                     42,404.31

Funds from rent and common areas maintenance
                                                                             1290-000                                    292,052.05

       Funds received from secured creditor                                  1290-000                                     75,839.21

TOTAL GROSS RECEIPTS                                                                                                    $ 551,505.49
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                         UNIFORM           $ AMOUNT
                                                                                                   TRAN. CODE            PAID

NA                                                                                                      NA                       NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                    $ NA
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS




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                                                  UNIFORM         CLAIMS
                                                                                  CLAIMS           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.       SCHEDULED                                           CLAIMS PAID
                                                                                 ASSERTED         ALLOWED
                                                   CODE       (from Form 6D)

3-1           CRIM                                4700-000                 NA        18,926.83              0.00             0.00

TOTAL SECURED CLAIMS                                                     $ NA       $ 18,926.83          $ 0.00            $ 0.00


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                               CLAIMS            CLAIMS            CLAIMS
                PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                             SCHEDULED          ASSERTED          ALLOWED
                                            CODE

WIGBERTO LUGO-MENDER                        2100-000                     NA         30,825.27        30,825.27          30,825.27


WIGBERTO LUGO-MENDER                        2200-000                     NA            323.52          323.52             323.52


INTERNATIONAL SURETIES,
LTD.                                        2300-000                     NA            692.22          692.22             692.22


BANCO SANTANDER, PR                         2600-000                     NA             20.00            20.00              20.00


OFFICE OF THE U. S. TRUSTEE                 2950-000                     NA            650.00          650.00             650.00


ALLIED WASTE                                2990-000                     NA          4,167.00         4,167.00           4,167.00


ANIBAL RIOS SALGADO                         2990-000                     NA          1,030.00         1,030.00           1,030.00


AUTORIDAD ACUEDUCTOS
ALCANTARILLADO                              2990-000                     NA         21,059.35        21,059.35          21,059.35


AUTORIDAD DE ENERGIA
ELECTRICA                                   2990-000                     NA         16,750.99        16,750.99          16,750.99


EL PLOMERO                                  2990-000                     NA            275.00          275.00             275.00


FMJS                                        2990-000                     NA          7,812.00         7,812.00           7,812.00




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                                         UNIFORM
                                                       CLAIMS          CLAIMS           CLAIMS
              PAYEE                       TRAN.                                                        CLAIMS PAID
                                                     SCHEDULED        ASSERTED         ALLOWED
                                          CODE

JESUS ROMERO                              2990-000               NA           400.00          400.00           400.00


JOSE CABALLERO                            2990-000               NA           225.00          225.00           225.00


LUIS VELEZ                                2990-000               NA        21,800.00       21,800.00        21,800.00


LUZ E JIMENEZ                             2990-000               NA        18,000.00       18,000.00        18,000.00


MARIA M RIVERA                            2990-000               NA         1,920.00        1,920.00          1,920.00


MARTINA MERCEDES                          2990-000               NA         3,500.00        3,500.00          3,500.00


PAGAN GROUP, CORP.                        2990-000               NA        27,110.00       27,110.00        27,110.00


PRLP 2011 HOLDING LLC                     2990-000               NA      107,008.04       107,008.04       107,008.04


PRO-TECH SERVICES, INC.                   2990-000               NA         6,332.92        6,332.92          6,332.92


RAFAEL MOLINA                             2990-000               NA         2,250.00        2,250.00          2,250.00


RAMON VAZQUEZ                             2990-000               NA           775.00          775.00           775.00


RE/MAX DORADO                             2990-000               NA         2,554.46        2,554.46          2,554.46


RM SECURITY AND
SURVEILANCE                               2990-000               NA        82,379.70       82,379.70        82,379.70


RM SECURITY ENFORCERS                     2990-000               NA        56,413.50       56,413.50        56,413.50


ROGELIO FERRER                            2990-000               NA        76,000.00       76,000.00        76,000.00

TOTAL CHAPTER 7 ADMIN. FEES                                 $ NA        $ 490,273.97    $ 490,273.97      $ 490,273.97
AND CHARGES




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            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS            CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                          SCHEDULED          ASSERTED           ALLOWED
                                          CODE

NA                                              NA                    NA                 NA               NA              NA

TOTAL PRIOR CHAPTER ADMIN.                                         $ NA                $ NA           $ NA               $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                              CLAIMS            CLAIMS
                                                UNIFORM
                                                            SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                                 6E)             Claim)

NA          NA                                       NA                NA                  NA              NA             NA

TOTAL PRIORITY UNSECURED                                              $ NA               $ NA             $ NA           $ NA
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                              CLAIMS            CLAIMS
                                                UNIFORM
                                                            SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                                 6F)             Claim)

            AAA PO BOX 70101 SAN
            JUAN, PR 00936-8101                                   1,200.00                 NA              NA             0.00


            JAIRO CABALLERO C/O
            MIGUEL A. NEGRON
            MATTA CALLE ESTEBAN
            PADILLA #60 E
            BAYAMON, PR 00959                                   900,000.00                 NA              NA             0.00




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                                                              CLAIMS             CLAIMS
                                                 UNIFORM
                                                            SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                             (from Form       (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)              Claim)

             RICARDO QUILES RIVERA
             C/O LCDO. FRANCISCO M.
             LOPEZ 431 PONCE DE
             LEON SUITE 1500
             NATIONAL PL SAN JUAN,
             PR 00917-3415                                             0.00                 NA               NA              0.00


             RICARDO QUILES RIVERA
             C/O LCDO. LUIS D.
             FLORES GONZALEZ 80
             GEORGETY STREET
             SUITE 202 RIO PIEDRAS,
             PR 00927                                                  0.00                 NA               NA              0.00


1            AEE                                 7100-000          3,000.00            6,244.99         6,244.99          137.63


3-2          CRIM                                7100-000               NA           18,926.83         18,926.83          417.13


2            PR ACQUISITIONS LLC                 7100-000         17,474.66          17,474.66         17,474.66          385.13


4-2          PRLP 2011 HOLDING LLC               7100-000               NA        2,735,661.38      2,735,661.38       60,291.63

TOTAL GENERAL UNSECURED                                        $ 921,674.66     $ 2,778,307.86    $ 2,778,307.86      $ 61,231.52
CLAIMS




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                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                             Exhibit 8
Case No:              12-00207                               BKT      Judge:        Brian K. Tester                              Trustee Name:                        WIGBERTO LUGO-MENDER, TRUSTEE
Case Name:            CORAL CORPORATION                                                                                          Date Filed (f) or Converted (c):     06/20/2012 (c)
                                                                                                                                 341(a) Meeting Date:                 08/15/2012
For Period Ending:    09/08/2017                                                                                                 Claims Bar Date:                     11/13/2012


                                   1                                                2                           3                             4                            5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally               Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                    Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                     the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                                 Assets
                                                                                                         and Other Costs)

  1. Post-Petition Interest Deposits                (u)                                        0.00                       N/A                                                       178.73                         FA
  2. Claim under case 11-10609                       (u)                                       0.00                 42,404.31                                                    42,404.31                         FA
  3. Rental income                                                                             0.00                       0.00                                                   90,758.21                         FA
  4. Funds from rent and common areas maintenance                                       220,243.76                        0.00                                                  292,052.05                         FA
  5. Land lot #16,115, located at Vega Alta                                          7,500,000.00                         0.00               OA                                        0.00                        FA
  6. Security deposit- PREPA                                                              2,000.00                        0.00                                                         0.00                        FA
  7. Security deposit- PRASA                                                              2,000.00                        0.00                                                         0.00                        FA
  8. Rent in Common Areas Maintenance (CAM) for the                                      18,000.00                        0.00                                                         0.00                        FA
  9. Other contingent Money held by Banco Popular, Case                                 196,260.17                        0.00                                                         0.00                        FA
 10. Garden Equipment                                                                        125.00                       0.00               OA                                        0.00                        FA
 11. Cash Collateral to satisfy certain operating          (u)                                 0.00                 50,272.98                                                    50,272.98                         FA
 12. Funds received from secured creditor                 (u)                                  0.00                 75,839.21                                                    75,839.21                         FA
 13. Vehicle- Toyota Tacoma 2005                      (u)                                      0.00                       0.00               OA                                        0.00                        FA


                                                                                                                                                                                    Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $7,938,628.93                $168,516.50                                                   $551,505.49                       $0.00
                                                                                                                                                                                    (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




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RE PROP #             2   --   This is a claim pending against a Chapter 13 DebtorDocument         Page
                                                                                  whose plan has been      9 of 39
                                                                                                      substantially
                               consumatted to this time. The balance due to the Chapter 13 Trustee as of this date is
                               $810.00, and with this last payment the Plan will be completed. The Chapter 7 Trustee                         Exhibit 8
                               will abandon any amount listed by Debtor in excess of a gross realization of $43,000
                               with a balance of $810.00 due as of this time. Any claim in excess of this amount is
                               uncollectable and will be subject to a discharge pursuant to 11 U.S.C. Section 1326.
RE PROP #             4   --   (CAM) 220,243.76 retained by Banco Popular, consigned in Supreme Court in
                               Bayamon, Case number CD2009-00341, as of March 12, 2012
RE PROP #             5   --   RUSTICA: Parcela de terreno identificada con la letra A en el plano de segregaci n
                               radicada en el Barrio Sabana del T rmino Municipal de Vega Alta Puerto Rico con una
                               cabida superficial de 4.04689 cuerdas equivalente a 15,905.855 metros cuadrados en
                               lindes por el Norte, con Remanente de la finca de la cual segrega; por el Sur con
                               carretera Estatal Puerto Rico 693, por el Este con carretera Estatal Puerto Rico 6690 y
                               por el este Oeste, con varios vecinos.

                               Property surrendered to secure creditor per dockets #147, #150 and #161
RE PROP #             6   --   Zero value at filing the petition
RE PROP #             7   --   Zero value at filing the petition
RE PROP #             8   --   month of April 2012
RE PROP #             9   --   DCD2009-00341 from rent and CAM payments made by tenants
                               September 13, 2010 $134,679.95
                               Nov. 2, 2010 $13,248.26
                               March 15, 2011 $48,331.46
RE PROP #            10   --   Property surrendered to secure creditor per dockets #147, #150 and #161

RE PROP #            11   --   expenses
RE PROP #            13   --   Although this vehicle was not scheduled and transferred without Order by the Debtor's
                               principal, litigation at State Court for recovery of this property may be burdensome to
                               the estate. Expected litigation costs at State Court to recover a 2005 vehicle may
                               exceed any potential realization for the benefit of creditors. Recovery of this vehicle
                               abandoned, case at State Court to be closed without further delay.

Initial Projected Date of Final Report (TFR): 03/31/2014            Current Projected Date of Final Report (TFR): 03/31/2017




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                                                                                  Entered:10/17/17 16:15:17                                              Desc: Main
                                                               Document     Page  10 of 39 RECORD
                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                       Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                Exhibit 9
      Case Name: CORAL CORPORATION                                                                                    Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                      Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                         Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                        Separate Bond (if applicable):


       1                2                             3                                        4                                                     5                      6                   7

Transaction Date    Check or                Paid To / Received From                Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)     Account/CD Balance
                    Reference                                                                                                   Code                                                            ($)
   07/27/12           3001        G & G REALTY, INC.                  PROPERTY MANAGEMENT                                    2990-000                                       $4,000.00          ($4,000.00)
                                  DBA REMAX DORADOPO BOX              FEE FOR MANAGING CORAL
                                  547DORADO PR 00646-0547             CORPORATION
                                                                      FROM JULY 13 TO AUGUST
                                                                      12
   07/27/12           3002        PAGAN GROUP, CORP                   INVOICE PDM-01                                         2990-000                                       $6,100.00         ($10,100.00)
                                  ENGINEERS & CONTRACTORSCALLE
                                  MADRE ERLA C-30URB DORADO DEL
                                  MARDORADO, PR
   07/27/12           3003        ROGELIO FERRER                      PETTY CASH FOR REPAIR                                  2990-000                                       $2,000.00         ($12,100.00)

   08/31/12           3001        Reverses Check # 3001               PROPERTY MANAGEMENT                                    2990-000                                    ($4,000.00)           ($8,100.00)
                                                                      FEE FOR
   08/31/12           3002        Reverses Check # 3002               INVOICE PDM-01                                         2990-000                                    ($6,100.00)           ($2,000.00)

   08/31/12           3003        Reverses Check # 3003               PETTY CASH FOR REPAIR                                  2990-000                                    ($2,000.00)                 $0.00

   08/31/12            11         PRLP 2011 HOLDING LLC               Wire transfer received from                            1290-000               $50,272.98                                 $50,272.98
                                                                      secured
                                                                      creditor- cash collateral to
                                                                      satisfy certain operating
                                                                      expenses
   08/31/12             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                    1270-000                     $0.28                                $50,273.26

   08/31/12           3004        ROGELIO FERRER                      PROPERTY MANAGEMENT                                    2990-000                                       $8,000.00          $42,273.26
                                                                      FEES INVOICE #3207038 &
                                                                      #3208036
   08/31/12           3005        LUZ E JIMENEZ                       ADMINISTRATIVE                                         2990-000                                       $2,000.00          $40,273.26
                                                                      ASSISTANT INVOICE
                                                                      #3207044 & #3208037
   08/31/12           3006        LUIS VELEZ                          VELEZ LANDSCAPING                                      2990-000                                       $3,100.00          $37,173.26
                                                                      GRASS CUTTING




                                                                             Page Subtotals:                                                        $50,273.26           $13,100.00
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                        4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                              ($)
   08/31/12           3007        PAGAN GROUP, CORP.                  KEYS & LOCKSMITH INV                                  2990-000                                     $20,110.00             $17,063.26
                                                                      #PDM-01; #PDM-02 &
                                                                      #PDM-03
                                                                      CLEANING AND DEBRIS
                                                                      REMOVAL
                                                                      HURRICANE EMERGENCY
                                                                      JOBS
   08/31/12           3008        MARIA M RIVERA                      CLEANING SERVICES INV                                 2990-000                                       $1,500.00            $15,563.26
                                                                      #306809; INV #306811; INV
                                                                      #306814; AND INV #306813
   08/31/12           3009        JOSE CABALLERO                      ANNUAL INSPECTION                                     2990-000                                           $225.00          $15,338.26
                                                                      ELEVATORS INV 1941G-7
   08/31/12           3010        PRO-TECH SERVICES, INC.             ELEVATORS MAINTENANCE                                 2990-000                                           $820.00          $14,518.26
                                                                      SERVICE INV #9068; INV
                                                                      #9069, AND INV #9110
   08/31/12           3011        RM SECURITY ENFORCERS               SECURITY SERVICE INV                                  2990-000                                     $10,764.00               $3,754.26
                                  & INVESTIGATION, CORP.              #000278; INV #000290 AND
                                                                      INV #000304
   08/31/12           3012        RE/MAX DORADO                       ADVERTISING- BANNER INV                               2990-000                                           $170.00            $3,584.26
                                                                      #R4719
   08/31/12           3013        RAMON VAZQUEZ                       EMERGENCY JOB- REPAIR                                 2990-000                                           $450.00            $3,134.26
                                                                      SEWER & UNCLOGGED
                                                                      WATER PIPES
   08/31/12                       BANCO SANTANDER, PR                 Charge for transfer funds                             2600-000                                            $20.00            $3,114.26

   09/07/12           3015        Reverses Check # 3015               ACCT #8059702000 AND                                  2990-000                                     ($1,827.58)              $4,941.84
                                                                      4800802000
   09/07/12           3014        AUTORIDAD ACUEDUCTOS           ACCT #203150277103                                         2990-000                                       $1,288.25              $3,653.59
                                  ALCANTARILLADO
                                  ALCANTARILLADOSPO BOX 70101SAN
                                  JUAN, PR 00936-8101
   09/07/12           3015        AUTORIDAD DE ENERGIA ELECTRICA      ACCT #8059702000 AND                                  2990-000                                       $1,827.58              $1,826.01
                                                                      4800802000
   09/10/12           3016        AUTORIDAD DE ENERGIA ELECTRICA      ACCT #8059702000 AND                                  2990-000                                       $1,826.00                   $0.01
                                                                      4800802000
   09/26/12             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $188.03                                      $188.04
                                  TR


                                                                             Page Subtotals:                                                            $188.03          $37,173.25
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                         4                                                   5                      6                   7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                  Code                                                            ($)
   09/28/12             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $0.82                                    $188.86

   10/02/12             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                  $2,106.99
                                  MAR

   10/15/12           3017        INTERNATIONAL SURETIES, LTD.        BLANKET BOND                                          2300-000                                           $0.46            $2,106.53
                                  ONE SHELL SQUARE701 POYDRAS         Per order entered October 24,
                                  STREET SUITE 420NEW ORLEANS, LA     2012. Refer to docket 120 and
                                  70139                               18.
   10/16/12             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                  $4,024.66
                                  MAR

   10/26/12             3         GARCIA- GLIDER INC                  Collection montlhy rent                               1122-000                 $2,000.00                                  $6,024.66

   10/26/12           3018        GARCIA- GLIDER INC                  Collection montly rent                                1122-000               ($2,000.00)                                  $4,024.66

   10/31/12             3         MASTER CONCRETE                     Collection monthly rent                               1122-000                 $2,500.00                                  $6,524.66

   10/31/12             3         SUNSHINE CAR WASH & DETAILING       Collection Monthly rent                               1122-000                    $550.00                                 $7,074.66

   10/31/12             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $0.30                                 $7,074.96

   11/01/12             4         ALGUACIL REGIONAL- TRIBUNAL         Collection funds consigned at                         1290-000              $292,052.05                                $299,127.01
                                  BAYAMON                             State
                                                                      Court
   11/02/12           3019        ROGELIO FERRER                      PROPERTY MANAGEMENT                                   2990-000                                       $8,000.00         $291,127.01
                                                                      FEES INVOICE #3209023 &
                                                                      #3210021
   11/02/12           3020        LUZ E JIMENEZ                       ADMINISTRATIVE                                        2990-000                                       $2,000.00         $289,127.01
                                                                      ASSISTANT INVOICE
                                                                      #3209024 & #3210022
   11/02/12           3021        LUIS VELEZ                          VELEZ LANDSCAPING                                     2990-000                                       $2,200.00         $286,927.01
                                                                      GRASS CUTTING
   11/02/12           3022        RM SECURITY ENFORCERS               SECURITY SERVICE INV                                  2990-000                                     $18,018.00          $268,909.01
                                  & INVESTIGATION, CORP.              #000316; INV #000331; INV
                                                                      #000341; INV #000356 AND
                                                                      #000369

                                                                             Page Subtotals:                                                      $298,939.43            $30,218.46
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                              ($)
   11/02/12           3023        RAMON VAZQUEZ                       PLUMBING SERVICE                                      2990-000                                           $325.00         $268,584.01
                                  EL PLOMERO
   11/02/12           3024        RE/MAX DORADO                       ADVERTISING- BANNER 14'X                              2990-000                                       $1,284.00           $267,300.01
                                                                      12 INV #R4769
   11/02/12           3025        ALLIED WASTE                        INV #0812-000292632; INV                              2990-000                                           $517.07         $266,782.94
                                  PO BOX 51986TOA BAJA PR 00950-      #0812-000294936; AND INV
                                  1986                                #0812-000295573
   11/02/12           3026        PRO-TECH SERVICES, INC.             ELEVATORS MAINTENANCE                                 2990-000                                           $984.00         $265,798.94
                                                                      SERVICE INV #9150; INV
                                                                      #9261, AND INV #9267
   11/02/12           3027        AUTORIDAD ACUEDUCTOS           ACCT #203150277103                                         2990-000                                       $2,792.37           $263,006.57
                                  ALCANTARILLADO
                                  ALCANTARILLADOSPO BOX 70101SAN
                                  JUAN, PR 00936-8101
   11/07/12           3028        ALLIED WASTE                        INV #0812-000298409; INV                              2990-000                                           $517.07         $262,489.50
                                  PO BOX 51986TOA BAJA PR 00950-      #0812-000300731; AND INV
                                  1986                                #0812-0003001121
   11/08/12             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $255.88                                $262,745.38
                                  TR

   11/08/12             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $305.29                                $263,050.67
                                  TR

   11/09/12           3029        FMJS                                INV #11633 AND #11902                                 2990-000                                       $1,400.00           $261,650.67
                                  SERVICES
   11/13/12             3         MASTER AGGREGATES CORP              Collection monthly rent                               1122-000                 $2,500.00                                 $264,150.67

   11/14/12             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                 $266,068.80
                                  MAR

   11/26/12           3018        Reverses Check # 3018               Collection montly rent                                1122-000                 $2,000.00                                 $268,068.80
                                                                      CORRECT DATA ENTRY
                                                                      ERROR
   11/30/12             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                    $550.00                                $268,618.80

   11/30/12             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                     $22.33                                $268,641.13



                                                                             Page Subtotals:                                                         $7,551.63             $7,819.51
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                              ($)
   12/12/12             3         MASTER AGGREGATES CORP              Collection monthly rent                               1122-000                 $2,500.00                                 $271,141.13

   12/14/12             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                 $273,059.26
                                  MAR

   12/17/12             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $305.30                                $273,364.56
                                  TR

   12/20/12           3030        ROGELIO FERRER                      PROPERTY MANAGEMENT                                   2990-000                                       $8,000.00           $265,364.56
                                                                      FEES INVOICE #3211034 &
                                                                      #3211049
   12/20/12           3031        LUZ E JIMENEZ                       ADMINISTRATIVE                                        2990-000                                       $2,000.00           $263,364.56
                                                                      ASSISTANT INVOICE
                                                                      #3211033 & #3211050
   12/20/12           3032        LUIS VELEZ                          VELEZ LANDSCAPING                                     2990-000                                       $2,200.00           $261,164.56
                                                                      GRASS CUTTING
   12/20/12           3033        RE/MAX DORADO                       WASTE PICK UP INV #204985                             2990-000                                           $150.00         $261,014.56

   12/20/12           3034        RM SECURITY ENFORCERS               SECURITY SERVICE INV                                  2990-000                                     $13,825.50            $247,189.06
                                  & INVESTIGATION, CORP.              #000377; INV #000378; INV
                                                                      #000379; AND #000380
   12/20/12           3035        PRLP 2011 HOLDING LLC               As per Court Order entered on                         2990-000                                     $94,862.02            $152,327.04

   12/21/12           3036        PRLP 2011 HOLDING LLC               As per Court Order entered on                         2990-000                                     $61,901.98             $90,425.06

   12/26/12           3035        Reverses Check # 3035               As per Court Order entered on                         2990-000                                    ($94,862.02)           $185,287.08

   12/26/12           3036        Reverses Check # 3036               As per Court Order entered on                         2990-000                                    ($61,901.98)           $247,189.06

   12/26/12           3037        PRLP 2011 HOLDING LLC               Payment to secured creditor as                        2990-000                                     $44,589.04            $202,600.02
                                                                      per Stipulation
                                                                      See legal Dk #90 and #101

   12/27/12             3         SUNSHINE CAR WASH & DETAILING       Collection monthly Rent                               1122-000                    $550.00                                $203,150.02

   12/31/12             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                     $23.16                                $203,173.18


                                                                             Page Subtotals:                                                         $5,296.59           $70,764.54
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                    Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                         4                                                   5                      6                       7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)        Account/CD Balance
                    Reference                                                                                                  Code                                                                ($)
   01/04/13             3         GARCIA-GLIDER, INC.                 Collection monthly Rent                               1122-000                 $3,000.00                                   $206,173.18

   01/11/13             3         MASTER AGGREGATES CORP              Collection monthly rent                               1122-000                 $2,500.00                                   $208,673.18

   01/11/13             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                   $210,591.31
                                  MAR

   01/17/13             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $305.28                                  $210,896.59
                                  TR

   01/17/13           3038        PRLP 2011 HOLDING LLC               As per Court Order entered on                         2990-000                                     $62,419.00              $148,477.59
                                                                      January 15, 2012
                                                                      See legal docket #136 and
                                                                      #137
   01/22/13             3         PREM MARKETING INC                  Collection monthly rent                               1122-000                    $800.00                                  $149,277.59

   01/22/13           3042        Reverses Check # 3042               INV 2050                                              2990-000                                           ($241.82)         $149,519.41

   01/22/13           3039        ROGELIO FERRER                      PROPERTY MANAGEMENT                                   2990-000                                       $4,000.00             $145,519.41
                                                                      FEES INVOICE #3212003
   01/22/13           3040        LUZ E JIMENEZ                       ADMINISTRATIVE                                        2990-000                                       $1,000.00             $144,519.41
                                                                      ASSISTANT INVOICE
                                                                      #3212004
   01/22/13           3041        RM SECURITY ENFORCERS               SECURITY SERVICE INV                                  2990-000                                       $7,254.00             $137,265.41
                                  & INVESTIGATION, CORP.              #000377; INV #000378; INV
                                                                      #000379; AND #000380
   01/22/13           3042        CARIBBEAN INK SOLUTIONS             INV 2050                                              2990-000                                            $241.82          $137,023.59
                                  PMB 3521357 ASHFORD AVE.SAN
                                  JUAN, PR 00907
   01/22/13           3043        PRO-TECH SERVICES, INC.             ELEVATORS MAINTENANCE                                 2990-000                                            $656.00          $136,367.59
                                                                      SERVICE INV #9314 AND #
   01/22/13           3044        LUIS VELEZ                          VELEZ LANDSCAPING                                     2990-000                                       $1,100.00             $135,267.59
                                                                      GRASS CUTTING
   01/22/13           3045        RE/MAX DORADO                       REIMBURSEMENT OF                                      2990-000                                            $241.82          $135,025.77
                                                                      INVOICE 2050 CARIBBEAN
                                                                      INK SOLUTIONS



                                                                             Page Subtotals:                                                         $8,523.41           $76,670.82
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                    Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                              3                                        4                                                   5                      6                       7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)        Account/CD Balance
                    Reference                                                                                                  Code                                                                ($)
   01/22/13           3046        RE/MAX DORADO                       REIMBURSEMENT OF                                      2990-000                                            $212.00          $134,813.77
                                                                      INVOICE 8261983 GFR MEDIA
                                                                      POST ADS ON EL NUEVO DIA
   01/22/13           3047        PAGAN GROUP, CORP.                  KEYS & LOCKSMITH INV                                  2990-000                                       $7,000.00             $127,813.77
                                                                      #PDM-04
                                                                      REMOVAL OF ASPHALT,
                                                                      FILLER MATERIAL AND
                                                                      COMPACTATION; WASTE
                                                                      DISPOSAL
   01/22/13           3048        RE/MAX DORADO                       REIMBURSEMENT OF                                      2990-000                                            $176.64          $127,637.13
                                                                      STAMPS AND OFFICE
                                                                      SUPPLIES
   01/31/13             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                    $550.00                                  $128,187.13

   01/31/13             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                     $18.77                                  $128,205.90

   02/11/13             3         MASTER AGGREGATES CORP              Collection Monthly Rent                               1122-000                 $2,500.00                                   $130,705.90

   02/11/13           3049        ALLIED WASTE                        Deposit waste tank                                    2990-000                                            $517.07          $130,188.83
                                  PO BOX 51986TOA BAJA PR 00950-
                                  1986
   02/11/13           3050        PRO-TECH SERVICES, INC.             ELEVATORS MAINTENANCE                                 2990-000                                            $328.00          $129,860.83
                                                                      SERVICE INV #13S-1061
   02/11/13           3051        JESUS N ROMERO                      MAINTENANCE AND                                       2990-000                                            $350.00          $129,510.83
                                                                      CLEANING FEES
   02/11/13           3052        EL PLOMERO                          REPAIR AND PLUMBING                                   2990-000                                            $275.00          $129,235.83
                                                                      SERVICE
   02/12/13           3049        Reverses Check # 3049               Deposit waste tank                                    2990-000                                           ($517.07)         $129,752.90

   02/12/13           3053        ALLIED WASTE                        Deposit waste tank                                    2990-000                                            $175.00          $129,577.90
                                  PO BOX 51986TOA BAJA PR 00950-
                                  1986
   02/14/13             3         CARICO                              Collection monthly rent                               1122-000                    $800.00                                  $130,377.90
                                  Prem Marketing Inc
   02/14/13             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                   $132,296.03
                                  MAR



                                                                             Page Subtotals:                                                         $5,786.90             $8,516.64
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                    Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)        Account/CD Balance
                    Reference                                                                                                  Code                                                                ($)
   02/21/13           3051        Reverses Check # 3051               MAINTENANCE AND                                       2990-000                                           ($350.00)         $132,646.03
                                                                      CLEANING FEES
   02/21/13           3054        RAFAEL MOLINA                       MAINTENANCE AND                                       2990-000                                            $350.00          $132,296.03
                                                                      CLEANING FEES
   02/22/13             3         GARCIA-GLIDER, INC.                 Collection montly rent                                1122-000                 $1,500.00                                   $133,796.03

   02/28/13             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                     $10.38                                  $133,806.41

   03/01/13           3055        ROGELIO FERRER                      PROPERTY MANAGEMENT                                   2990-000                                       $4,000.00             $129,806.41
                                                                      FEES INVOICE #3212022
   03/01/13           3056        LUZ E JIMENEZ                       ADMINISTRATIVE                                        2990-000                                       $1,000.00             $128,806.41
                                                                      ASSISTANT INVOICE
                                                                      #3212023
   03/01/13           3057        RM SECURITY ENFORCERS               SECURITY SERVICE INV                                  2990-000                                       $6,552.00             $122,254.41
                                  & INVESTIGATION, CORP.              #000426; AND #000427
   03/01/13           3058        FMJS                                INV #12397                                            2990-000                                       $2,100.00             $120,154.41
                                  SERVICES
   03/01/13           3059        LUIS VELEZ                          VELEZ LANDSCAPING                                     2990-000                                       $1,100.00             $119,054.41
                                                                      GRASS CUTTING
   03/06/13             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $558.04                                  $119,612.45
                                  TR
                                  CHAPTER 13 TRUSTEECASE 11-10609
                                  CLAIM #2
   03/08/13             3         MASTER AGGREGATES CORP              cOLLECTION MONTHLY                                    1122-000                 $2,500.00                                   $122,112.45
                                                                      RENT
   03/12/13             3         PREM MARKETING INC                  Collection monthly rent                               1122-000                    $800.00                                  $122,912.45

   03/12/13             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                    $550.00                                  $123,462.45

   03/12/13           3060        ALLIED WASTE                        Acct #3-0812-0002246                                  2990-000                                            $481.92          $122,980.53
                                  PO BOX 51986TOA BAJA PR 00950-
                                  1986
   03/15/13             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                   $124,898.66
                                  MAR




                                                                             Page Subtotals:                                                         $7,836.55           $15,233.92
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                              ($)
   03/18/13           3061        ALLIED WASTE                        Acct #3-0812-0104056                                  2990-000                                           $481.92         $124,416.74
                                  PO BOX 51986TOA BAJA PR 00950-
                                  1986
   03/29/13             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                     $10.33                                $124,427.07

   04/01/13           3066        Reverses Check # 3066               SECURITY SERVICE                                      2990-000                                     ($6,552.00)           $130,979.07

   04/01/13           3067        Reverses Check # 3067               SECURITY SERVICE                                      2990-000                                     ($6,552.00)           $137,531.07

   04/01/13           3062        ROGELIO FERRER                      PROPERTY MANAGEMENT                                   2990-000                                       $4,000.00           $133,531.07
                                                                      FEES INVOICE #3303001
   04/01/13           3063        LUZ E JIMENEZ                       ADMINISTRATIVE                                        2990-000                                       $1,000.00           $132,531.07
                                                                      ASSISTANT INVOICE
                                                                      #3303002
   04/01/13           3064        LUIS VELEZ                          VELEZ LANDSCAPING                                     2990-000                                       $1,100.00           $131,431.07
                                                                      GRASS CUTTING
   04/01/13           3065        RAFAEL MOLINA                       MAINTENANCE AND                                       2990-000                                           $400.00         $131,031.07
                                                                      CLEANING FEES
   04/01/13           3066        RM SECURITY ENFORCERS               SECURITY SERVICE INV                                  2990-000                                       $6,552.00           $124,479.07
                                  & INVESTIGATION, CORP.              #000426; AND #000427
                                                                      WRONG NAME AND AMOUNT
   04/01/13           3067        RM SECURITY ENFORCERS               SECURITY SERVICE INV                                  2990-000                                       $6,552.00           $117,927.07
                                  GROUP CORP                          #000459; AND #000460
                                                                      WRONG AMOUNT
   04/01/13           3068        RM SECURITY AND SURVEILANCE         SECURITY SERVICE INV                                  2990-000                                       $7,254.00           $110,673.07
                                  GROUP CORP                          #000459; AND #000460
   04/03/13             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                    $550.00                                $111,223.07

   04/11/13             3         MASTER AGGREGATES CORP              Collection monthly rent                               1122-000                 $2,500.00                                 $113,723.07

   04/16/13             3         GARCIA-GLIDER INC                   Collection Monthly Rent                               1122-000                 $1,500.00                                 $115,223.07

   04/16/13           3071        Reverses Check # 3071               Collection Monthly Rent                               1122-000                 $1,500.00                                 $116,723.07

   04/16/13           3071        GARCIA GLIDER, INC                  Collection Monthly Rent                               1122-000               ($1,500.00)                                 $115,223.07



                                                                             Page Subtotals:                                                         $4,560.33           $14,235.92
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                    Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                         4                                                   5                      6                       7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)        Account/CD Balance
                    Reference                                                                                                  Code                                                                ($)
   04/23/13           3069        AUTORIDAD ACUEDUCTOS                Acct 203150277103                                     2990-000                                       $1,794.57             $113,428.50
                                  ALCANTARILLADO
                                  & Alcantarillado
   04/25/13           3070        Reverses Check # 3070               ACCT #8059702000 AND                                  2990-000                                     ($4,220.50)             $117,649.00
                                                                      4800802000
   04/25/13           3070        AUTORIDAD DE ENERGIA ELECTRICA      ACCT #8059702000 AND                                  2990-000                                       $4,220.50             $113,428.50
                                                                      4800802000
   04/25/13           3072        ALLIED WASTE                        Acct #3-0812-0104056                                  2990-000                                            $100.73          $113,327.77
                                  PO BOX 51986TOA BAJA PR 00950-
                                  1986
   04/25/13           3073        AUTORIDAD DE ENERGIA ELECTRICA      ACCT #8059702000 AND                                  2990-000                                       $5,342.15             $107,985.62
                                                                      4800802000
   04/30/13             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                     $10.38                                  $107,996.00

   04/30/13           3074        PRO-TECH SERVICES, INC.             ELEVATORS MAINTENANCE                                 2990-000                                            $656.00          $107,340.00
                                                                      SERVICE INVOICE #13S-3015
                                                                      AND #13S-4035
   05/06/13                       Transfer from Acct # XXXXXX6495     Bank Funds Transfer                                   9999-000               $14,811.66                                    $122,151.66
                                                                      Transfer posted to recognized
                                                                      funds deposited on this account
                                                                      originally [Data entry error]
                                                                      Claim #2 under case 11-10609
   05/06/13           3043        Reverses Check # 3043               ELEVATORS MAINTENANCE                                 2990-000                                           ($656.00)         $122,807.66
                                                                      SERVICE
   05/06/13           3050        Reverses Check # 3050               ELEVATORS MAINTENANCE                                 2990-000                                           ($328.00)         $123,135.66
                                                                      SERVICE
   05/06/13           3075        PRO-TECH SERVICES, INC.             ELEVATORS MAINTENANCE                                 2990-000                                            $656.00          $122,479.66
                                                                      SERVICE INV #9314; AND
                                                                      INV #13S-1061
   05/08/13             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                   $124,397.79
                                  MAR

   05/14/13             3         MASTER AGGREGATES CORP              Collection monthly rent                               1122-000                 $2,500.00                                   $126,897.79

   05/21/13             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                   $128,815.92
                                  MAR



                                                                             Page Subtotals:                                                       $21,158.30              $7,565.45
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                                                                                                                                                                                                Page:       11
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                    Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                         4                                                   5                      6                       7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)        Account/CD Balance
                    Reference                                                                                                  Code                                                                ($)
   05/21/13             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                    $550.00                                  $129,365.92

   05/31/13             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                     $10.69                                  $129,376.61

   06/05/13             3         ISLAND ECO PARTNERS LLC             Collection monthly rent                               1122-000                 $1,500.00                                   $130,876.61

   06/05/13             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                    $550.00                                  $131,426.61

   06/05/13             3         ISLAND ECO PARTNERS LLC             Collection monthly rent                               1122-000                 $1,500.00                                   $132,926.61

   06/11/13           3079        Reverses Check # 3079               Acct #3-0812-0104056                                  2990-000                                           ($100.73)         $133,027.34
                                                                      WRONG AMOUNT
   06/11/13           3081        Reverses Check # 3081               Acct 219269933                                        2990-000                                     ($1,794.57)             $134,821.91

   06/11/13           3088        Reverses Check # 3088               ELECTRICIAN                                           2990-000                                     ($1,030.00)             $135,851.91

   06/11/13           3082        Reverses Check # 3082               Acct 219262235                                        2990-000                                           ($274.26)         $136,126.17

   06/11/13           3076        ROGELIO FERRER                      INV #3304024 & 3305036                                2990-000                                       $8,000.00             $128,126.17
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
   06/11/13           3077        LUZ E JIMENEZ                       INVOICE #3304025 &                                    2990-000                                       $2,000.00             $126,126.17
                                                                      #3305037
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
   06/11/13           3078        LUIS VELEZ                          VELEZ LANDSCAPING                                     2990-000                                       $2,200.00             $123,926.17
                                                                      GRASS CUTTING [APRIL AND
                                                                      MAY 2013]
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013




                                                                             Page Subtotals:                                                         $4,110.69             $9,000.44
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                                                                                                                                                                                             Page:       12
                                   Case:12-00207-BKT7 Doc#:248 Filed:10/17/17
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                     Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                  Bank Name: BANCO SANTANDER
                                                                                                           Account Number/CD#: XXXXXX5197
                                                                                                                                    Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                       Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From               Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                 Code                                                              ($)
   06/11/13           3079        ALLIED WASTE                        Acct #3-0812-0104056 Invoice                         2990-000                                           $100.73         $123,825.44
                                  PO BOX 51986TOA BAJA PR 00950-      Approved 0812-000322358
                                  1986                                Additional Invoice 0812-
                                                                      000325430

                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013

   06/11/13           3080        PRO-TECH SERVICES, INC.             ELEVATORS MAINTENANCE                                2990-000                                           $328.00         $123,497.44
                                                                      SERVICE Additional Invoice
                                                                      #13S-9124
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013

   06/11/13           3081        AUTORIDAD DE ACUEDUCTOS             Acct 219269933 Sprinkler                             2990-000                                       $1,794.57           $121,702.87
                                  & Alcantarillado                    System Plaza del Mar

                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
                                                                      Additional Invoice
   06/11/13           3082        AUTORIDAD DE ACUEDUCTOS             Acct 219262235 Sprinkler                             2990-000                                           $274.26         $121,428.61
                                  & Alcantarillado                    System Plaza del Mar

                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
                                                                      Additional Invoice
   06/11/13           3083        AUTORIDAD DE ENERGIA ELECTRICA      ACCT #8059702000                                     2990-000                                           $486.00         $120,942.61
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
                                                                      Additional Invoice [Amount was
                                                                      originally estimated]

                                                                             Page Subtotals:                                                            $0.00             $2,983.56
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                                                                                                                                                                                             Page:       13
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                     Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                  Bank Name: BANCO SANTANDER
                                                                                                           Account Number/CD#: XXXXXX5197
                                                                                                                                    Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                       Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From               Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                 Code                                                              ($)
   06/11/13           3084        AUTORIDAD DE ENERGIA ELECTRICA      ACCT #4800802000                                     2990-000                                       $5,307.21           $115,635.40
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
                                                                      Additional Invoice [Amount was
                                                                      originally estimated]
   06/11/13           3085        RM SECURITY AND SURVEILANCE         SECURITY SERVICE INV #13-                            2990-000                                    $14,274.00             $101,361.40
                                  GROUP CORP                          11, #13-12 INV #13-13 AND
                                                                      #13-14
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013

   06/11/13           3086        RE/MAX DORADO                       Refund- Check paid to Dorado                         2990-000                                           $155.00         $101,206.40
                                                                      Lock & Key Invoice #00163
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013

   06/11/13           3087        MARIA M RIVERA                      Cleaning service after flood                         2990-000                                           $150.00         $101,056.40
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
                                                                      Additional invoice
   06/11/13           3088        RAFAEL MOLINA                       ELECTRICIAN INVOICE                                  2990-000                                       $1,030.00           $100,026.40
                                                                      #00430 AND #00452
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
                                                                      Additional Invoice #00452




                                                                             Page Subtotals:                                                            $0.00          $20,916.21
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                     Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                  Bank Name: BANCO SANTANDER
                                                                                                           Account Number/CD#: XXXXXX5197
                                                                                                                                    Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                       Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From               Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                 Code                                                              ($)
   06/11/13           3089        ALLIED WASTE                        Acct #3-0812-0104056 Invoice                         2990-000                                           $404.56          $99,621.84
                                  PO BOX 51986TOA BAJA PR 00950-      Approved 0812-000322358
                                  1986                                Additional Invoice 0812-
                                                                      000325430

                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013

   06/11/13           3090        AUTORIDAD ACUEDUCTOS                Acct 219269933 Sprinkler                             2990-000                                       $6,293.28            $93,328.56
                                  ALCANTARILLADO                      System Plaza del Mar
                                  & Alcantarillado
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
                                                                      Additional Invoice
   06/11/13           3091        ANIBAL RIOS SALGADO                 ELECTRICIAN INVOICE                                  2990-000                                       $1,030.00            $92,298.56
                                                                      #00430 AND #00452
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
                                                                      Additional Invoice #00452
   06/11/13           3092        RAFAEL MOLINA                       ELECTRICIAN INVOICE                                  2990-000                                       $1,500.00            $90,798.56
                                                                      #00430 AND #00452
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
                                                                      Additional Invoice #00452
   06/11/13           3093        AUTORIDAD ACUEDUCTOS                Acct 219262235 Sprinkler                             2990-000                                       $1,058.52            $89,740.04
                                  ALCANTARILLADO                      System Plaza del Mar
                                  & Alcantarillado
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated June
                                                                      11, 2013
                                                                      Additional Invoice



                                                                             Page Subtotals:                                                            $0.00          $10,286.36
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                       Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                    Bank Name: BANCO SANTANDER
                                                                                                             Account Number/CD#: XXXXXX5197
                                                                                                                                      Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                         Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                        Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                 Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                   Code                                                              ($)
   06/13/13             3         MASTER AGGREGATES CORP               Collection monthly rent                               1122-000                 $2,500.00                                  $92,240.04

   06/14/13             3         LABORATORIO CLINICO PLAZA DEL        Collection monthly rent                               1122-000                 $1,918.13                                  $94,158.17
                                  MAR

   06/28/13             1         BANCO SANTANDER, P.R.                Interest Rate 0.100                                   1270-000                      $8.87                                 $94,167.04

   07/02/13             3         SUNSHINE CAR WASH & DETAILING        Collection monthly rent                               1122-000                    $550.00                                 $94,717.04

   07/10/13           3094        LUGO MENDER, WIGBERTO                As per Court Order entered on                         2200-000                                           $189.63          $94,527.41
                                  Centro Internacional de MercadeoRd   July 9, 2013 [Reimbursed
                                  #165 Torre 1 Suite 501Guaynabo, PR   Expenses]
                                  00968                                Refer to docket #168 and #171
   07/11/13             3         MASTER AGGREGATES CORP               Collection monthly rent                               1122-000                 $2,000.00                                  $96,527.41

   07/24/13             3         ISLAND ECO PARTNERS LLC              Collection monthly rent                               1122-000                 $1,500.00                                  $98,027.41

   07/24/13             3         LABORATORIO CLINICO PLAZA DEL        Collection monthly rent                               1122-000                 $1,918.13                                  $99,945.54
                                  MAR
                                  DEL MAR
   07/24/13             3         ISLAND ECO PARTNERS LLC              Collection monthly rent                               1122-000                 $1,500.00                                 $101,445.54

   07/24/13           3095        ROGELIO FERRER                       INV #33060 [June- July 2013]                          2990-000                                       $8,000.00            $93,445.54
                                                                       Approved by H Del Rio and H
                                                                       Bauer
                                                                       Reference email dated July 24,.
                                                                       2013
   07/24/13           3096        LUZ E JIMENEZ                        INVOICE #3306021 [June &                              2990-000                                       $2,000.00            $91,445.54
                                                                       July 2013]
                                                                       Approved by H Del Rio and H
                                                                       Bauer
                                                                       Reference email dated July 24,
                                                                       2013




                                                                              Page Subtotals:                                                       $11,895.13            $10,189.63
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                                   Case:12-00207-BKT7 Doc#:248 Filed:10/17/17
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                     Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                  Bank Name: BANCO SANTANDER
                                                                                                           Account Number/CD#: XXXXXX5197
                                                                                                                                    Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                       Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                      Separate Bond (if applicable):


       1                2                             3                                        4                                                   5                      6                     7

Transaction Date    Check or                Paid To / Received From               Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                 Code                                                              ($)
   07/24/13           3097        LUIS VELEZ                          VELEZ LANDSCAPING                                    2990-000                                       $1,100.00            $90,345.54
                                                                      GRASS CUTTING [JUNE
                                                                      2013]
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated July 24,
                                                                      2013
   07/24/13           3098        MARIA M RIVERA                      INVOICE #709001                                      2990-000                                           $270.00          $90,075.54

   07/24/13           3099        RM SECURITY AND SURVEILANCE         SECURITY SERVICE INV #13-                            2990-000                                    $10,530.00              $79,545.54
                                  GROUP CORP                          41, #13-42 AND INV #13-43
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated July 24,
                                                                      2013

   07/24/13           3100        ALLIED WASTE                        Acct #3-0812-0104056                                 2990-000                                           $202.28          $79,343.26
                                  PO BOX 51986TOA BAJA PR 00950-
                                  1986                                Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated July 24,
                                                                      2013

   07/24/13           3101        PRO-TECH SERVICES, INC.             ELEVATORS MAINTENANCE                                2990-000                                       $1,859.00            $77,484.26
                                                                      SERVICE Additional Invoice
                                                                      #13S-5023, #13S-5024, #13-
                                                                      S6024 AND #13S-7023
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated July 24,
                                                                      2013

   07/24/13           3102        AUTORIDAD ACUEDUCTOS                Acct 219269933 [Sprinkler                            2990-000                                           $673.83          $76,810.43
                                  ALCANTARILLADO                      System] Acct #0002192669
                                  & Alcantarillado                    Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated July 24,
                                                                      2013




                                                                             Page Subtotals:                                                            $0.00          $14,635.11
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                                                                                  Entered:10/17/17 16:15:17                                             Desc: Main
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                         4                                                   5                      6                     7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                              ($)
   07/24/13           3103        AUTORIDAD DE ENERGIA ELECTRICA      ACCT #8059702000                                      2990-000                                           $991.95          $75,818.48
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated July 24,
                                                                      2013

   07/31/13             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $8.82                                 $75,827.30

   08/06/13             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                    $550.00                                 $76,377.30

   08/13/13             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                  $78,295.43
                                  MAR

   08/13/13             3         ISLAND ECO PARTNERS LLC             Collection monthly rent                               1122-000                 $1,500.00                                  $79,795.43

   08/30/13             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $6.67                                 $79,802.10

   09/03/13             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                    $550.00                                 $80,352.10

   09/09/13             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                 $2,455.77                                  $82,807.87
                                  TR

   09/16/13             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                  $84,726.00
                                  MAR

   09/16/13             3         ISLAND ECO PARTNERS LLC             Collection monthly rent                               1122-000                 $1,500.00                                  $86,226.00

   09/20/13           3105        Reverses Check # 3105               INVOICE #3308050 [August                              2990-000                                     ($2,000.00)            $88,226.00
                                                                      2013]
   09/20/13           3104        ROGELIO FERRER                      INV #3308049 [August 2013]                            2990-000                                       $4,000.00            $84,226.00
                                                                      Approved by H Del Rio
                                                                      Reference email dated
   09/20/13           3105        LUZ E JIMENEZ                       INVOICE #3308050 [August                              2990-000                                       $2,000.00            $82,226.00
                                                                      2013]
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated
                                                                      September 19, 2013

                                                                             Page Subtotals:                                                       $10,407.52              $4,991.95
        UST Form 101-7-TDR (10/1/2010) (Page: 26)
                                                                                                                                                                                             Page:       18
                                   Case:12-00207-BKT7 Doc#:248 Filed:10/17/17
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                                                                                  Entered:10/17/17 16:15:17                                            Desc: Main
                                                               Document     Page  27 of 39 RECORD
                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                     Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                  Bank Name: BANCO SANTANDER
                                                                                                           Account Number/CD#: XXXXXX5197
                                                                                                                                    Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                       Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From               Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                 Code                                                              ($)
   09/20/13           3106        LUIS VELEZ                          VELEZ LANDSCAPING                                    2990-000                                       $2,200.00            $80,026.00
                                                                      GRASS CUTTING [Invoice
                                                                      #3307041 and #3308053]
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      September 19, 2013
   09/20/13           3107        JESUS ROMERO                        iNVOICE #464755                                      2990-000                                           $400.00          $79,626.00
                                                                      [HANDYMAN]
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      September 19, 2013
   09/20/13           3108        RM SECURITY AND SURVEILANCE         SECURITY SERVICE INV #13-                            2990-000                                    $15,261.48              $64,364.52
                                  GROUP CORP                          86, #14-39 INV #14-40 AND
                                                                      INV #14-64
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      September 19, 2013
   09/20/13           3109        RE/MAX DORADO                       Refund- Check paid to Dorado                         2990-000                                            $59.00          $64,305.52
                                                                      Lock & Key Invoice #00176
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      September 19, 2013
   09/20/13           3110        FMJS                                INV #12686. INV #12966 AND                           2990-000                                       $4,312.00            $59,993.52
                                  SERVICES                            INV #13098
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      September 19, 2013
   09/20/13           3111        ALLIED WASTE                        Acct #0812-000331046 AND                             2990-000                                           $404.56          $59,588.96
                                  PO BOX 51986TOA BAJA PR 00950-      #0812-0104056
                                  1986
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      September 19, 2013
   09/20/13           3112        PRO-TECH SERVICES, INC.             ELEVATORS MAINTENANCE                                2990-000                                           $656.00          $58,932.96
                                                                      SERVICE
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      September 19, 2013




                                                                            Page Subtotals:                                                             $0.00          $23,293.04
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                                                                                                                                                                                              Page:       19
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                       Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                 Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                         Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                         4                                                    5                     6                     7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)        Disbursements ($)     Account/CD Balance
                    Reference                                                                                                  Code                                                              ($)
   09/20/13           3113        AUTORIDAD ACUEDUCTOS                Acct 00021926993-3                                    2990-000                                           $324.95          $58,608.01
                                  ALCANTARILLADO                      Approved by H Del Rio
                                  & Alcantarillado                    Reference email dated
                                                                      September 19, 2013
   09/20/13           3114        AUTORIDAD ACUEDUCTOS                Acct 00021926223-5                                    2990-000                                       $1,820.79            $56,787.22
                                  ALCANTARILLADO                      Approved by H Del Rio
                                  & Alcantarillado                    Reference email dated
                                                                      September 19, 2013
   09/20/13           3115        AUTORIDAD DE ENERGIA ELECTRICA      ACCT #8059702000                                      2990-000                                           $450.57          $56,336.65
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      September 19, 2013
   09/20/13           3116        LUZ E JIMENEZ                       INVOICE #3308050 [August                              2990-000                                       $1,000.00            $55,336.65
                                                                      2013]
                                                                      Approved by H Del Rio and H
                                                                      Bauer
                                                                      Reference email dated
                                                                      September 19, 2013
   09/25/13           3117        INTERNATIONAL SURETIES, LTD.        Blanket Bond                                          2300-000                                           $125.10          $55,211.55
                                  SUITE 420701 POYDRAS STNEW          Per order antered November
                                  ORLEANS LA 70139                    13,2013. Refer to docket 201
                                                                      and 187.
   09/30/13             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                       $6.86                                $55,218.41

   10/01/13             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                     $550.00                                $55,768.41

   10/04/13             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                     $555.53                                $56,323.94
                                  TR

   10/08/13           3118        PRLP 2011 HOLDING LLC               Secured creditor                                      2990-000                                      $26,323.94            $30,000.00

   10/11/13             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                  $31,918.13
                                  MAR

   10/25/13           3118        Reverses Check # 3118               Secured creditor                                      2990-000                                     ($26,323.94)           $58,242.07

   10/28/13           3123        Reverses Check # 3123               INVOICE #33100086                                     2990-000                                      ($1,400.00)           $59,642.07
                                                                      [September 2013]

                                                                             Page Subtotals:                                                         $3,030.52             $2,321.41
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                     Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                  Bank Name: BANCO SANTANDER
                                                                                                           Account Number/CD#: XXXXXX5197
                                                                                                                                    Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                       Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                      Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From               Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)       Account/CD Balance
                    Reference                                                                                                 Code                                                              ($)
   10/28/13           3119        ROGELIO FERRER                      INV #3310005 September INV                           2990-000                                       $6,500.00            $53,142.07
                                                                      #3310034 October- Partial
                                                                      payment
                                                                      Approved by H Del Rio
                                                                      Reference email dated October
                                                                      28, 2013
   10/28/13           3120        LUZ E JIMENEZ                       INVOICE #3310006                                     2990-000                                       $2,000.00            $51,142.07
                                                                      [September 2013] INVOICE
                                                                      #3310035 [October 2013]
                                                                      Approved by H Del Rio
                                                                      Reference email dated October
                                                                      28, 2013
   10/28/13           3121        LUIS VELEZ                          VELEZ LANDSCAPING                                    2990-000                                       $2,200.00            $48,942.07
                                                                      GRASS CUTTING [Invoice
                                                                      #3310007 and #3310036]
                                                                      Approved by H Del Rio
                                                                      Reference email dated October
                                                                      28, 2013
   10/28/13           3122        RM SECURITY AND SURVEILANCE         SECURITY SERVICE INV #14-                            2990-000                                    $12,025.26              $36,916.81
                                  GROUP CORP                          19, #14-20 INV #14-65, INV
                                                                      #14-87 AND INV #14-88
                                                                      Approved by H Del Rio
                                                                      Reference email dated October
                                                                      28, 2013
   10/28/13           3123        LUZ E JIMENEZ                       INVOICE #33100086                                    2990-000                                       $1,400.00            $35,516.81
                                                                      [September 2013] INVOICE
                                                                      #33100375 [October 2013]
                                                                      Approved by H Del Rio
                                                                      Reference email dated October
                                                                      28, 2013
   10/28/13           3124        ALLIED WASTE                        Acct #0812-0104056                                   2990-000                                           $204.94          $35,311.87
                                  PO BOX 51986TOA BAJA PR 00950-
                                  1986                                Approved by H Del Rio
                                                                      Reference email dated October
                                                                      28, 2013
   10/28/13           3125        PRO-TECH SERVICES, INC.             ELEVATORS MAINTENANCE                                2990-000                                           $373.92          $34,937.95
                                                                      SERVICE
                                                                      Approved by H Del Rio
                                                                      Reference email dated October
                                                                      28, 2013


                                                                             Page Subtotals:                                                            $0.00          $24,704.12
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                         4                                                   5                      6                     7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                              ($)
   10/28/13           3126        AUTORIDAD ACUEDUCTOS                Acct 00021926223-5                                    2990-000                                       $1,116.74            $33,821.21
                                  ALCANTARILLADO                      Approved by H Del Rio
                                  & Alcantarillado                    Reference email dated October
                                                                      28, 2013
   10/28/13           3127        AUTORIDAD ACUEDUCTOS                Acct 00021926993-3                                    2990-000                                           $164.32          $33,656.89
                                  ALCANTARILLADO                      Approved by H Del Rio
                                  & Alcantarillado                    Reference email dated October
                                                                      28, 2013
   10/28/13           3128        AUTORIDAD DE ENERGIA ELECTRICA      ACCT #8059702000                                      2990-000                                       $1,028.10            $32,628.79
                                                                      Approved by H Del Rio
                                                                      Reference email dated October
                                                                      28, 2013
   10/28/13           3129        LUIS VELEZ                          INVOICE #33100086                                     2990-000                                       $1,400.00            $31,228.79
                                                                      [September 2013] INVOICE
                                                                      #33100375 [October 2013]
                                                                      Approved by H Del Rio
                                                                      Reference email dated October
                                                                      28, 2013
   10/29/13           3129        Reverses Check # 3129               INVOICE #33100086                                     2990-000                                     ($1,400.00)            $32,628.79
                                                                      [September 2013]
   10/29/13           3130        MARTINA MERCEDES                    INVOICE #3310008                                      2990-000                                       $1,400.00            $31,228.79
                                                                      [September 2013] INVOICE
                                                                      #3310037 [October 2013]
                                                                      Approved by H Del Rio
                                                                      Reference email dated October
                                                                      28, 2013
   10/31/13             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $4.92                                 $31,233.71

   11/01/13             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                    $550.00                                 $31,783.71

   11/06/13             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $555.53                                 $32,339.24
                                  TR
                                  Ch 13
   11/15/13             3         ISLAND ECO PARTNERS LLC             Collection monthly rent                               1122-000                 $1,500.00                                  $33,839.24

   11/15/13             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                  $35,757.37
                                  MAR



                                                                             Page Subtotals:                                                         $4,528.58             $3,709.16
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                                                                                  Entered:10/17/17 16:15:17                                             Desc: Main
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                         4                                                   5                      6                     7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                              ($)
   11/29/13             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $2.85                                 $35,760.22

   12/06/13             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $555.53                                 $36,315.75
                                  TR

   12/12/13           3131        ALLIED WASTE                        Acct #0812-0104056                                    2990-000                                           $440.28          $35,875.47
                                  PO BOX 51986TOA BAJA PR 00950-
                                  1986                                Approved by H Del Rio
                                                                      Reference email dated
                                                                      December 12, 2013
   12/12/13           3132        AUTORIDAD ACUEDUCTOS                Acct 00021926223-5                                    2990-000                                       $2,233.48            $33,641.99
                                  ALCANTARILLADO                      Approved by H Del Rio
                                  & Alcantarillado                    Reference email dated
                                                                      December 12, 2013
   12/12/13           3133        AUTORIDAD DE ENERGIA ELECTRICA      ACCT #8059702000                                      2990-000                                           $481.44          $33,160.55
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      December 12, 2013
   12/12/13           3134        MARTINA MERCEDES                    November 2013                                         2990-000                                           $700.00          $32,460.55
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      December 12, 2013
   12/12/13           3135        LUZ E JIMENEZ                       November 2013                                         2990-000                                       $2,000.00            $30,460.55
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      December 12, 2013
   12/12/13           3136        ROGELIO FERRER                      INV#3310034 October Pending                           2990-000                                       $1,500.00            $28,960.55
                                                                      balance
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      December 12, 2013
   12/13/13             3         ISLAND ECO PARTNERS LLC             Collection monthly rent                               1122-000                 $1,500.00                                  $30,460.55

   12/13/13             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                    $550.00                                 $31,010.55

   12/20/13             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                  $32,928.68
                                  MAR



                                                                             Page Subtotals:                                                         $4,526.51             $7,355.20
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                         4                                                   5                      6                   7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                  Code                                                            ($)
   12/31/13             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $3.29                               $32,931.97

   01/10/14             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $555.50                               $33,487.47
                                  TR

   01/21/14             3         LABORATORIO CLINICO PLAZA DEL       Collection monthly rent                               1122-000                 $1,918.13                                $35,405.60
                                  MAR
                                  DEL MAR
   01/21/14             3         ISLAND ECO PARTNERS LLC             Collection monthly rent                               1122-000                 $1,500.00                                $36,905.60

   01/21/14             3         ISLAND ECO PARTNERS LLC             Collection monthly rent                               1122-000                 $1,500.00                                $38,405.60

   01/31/14             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $3.37                               $38,408.97

   02/03/14            12         ONEILL AND BORGES                   Funds received from secure                            1290-000               $30,000.00                                 $68,408.97
                                                                      creditor
   02/04/14            12         PRLP 2011 HLDGS LLC                 Funds received from secure                            1290-000               $45,839.21                                $114,248.18
                                                                      creditor
                                                                      to pay administrative expenses
   02/04/14           3136        Reverses Check # 3136               INV#3310034 October Pending                           2990-000                                     ($1,500.00)         $115,748.18
                                                                      balance
   02/04/14           3135        Reverses Check # 3135               November 2013                                         2990-000                                     ($2,000.00)         $117,748.18

   02/04/14           3137        ROGELIO FERRER                      PROPERTY MANAGEMENT                                   2990-000                                     $13,500.00          $104,248.18
                                                                      FEES INVOICE #3311013,
                                                                      #3312004 AND #3300126
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      February 4, 2013
   02/04/14           3138        LUZ E JIMENEZ                       ADMINISTRATIVE                                        2990-000                                       $2,000.00         $102,248.18
                                                                      ASSISTANT INVOICE
                                                                      #3311014, #3312005, AND
                                                                      #3300127
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      February 4, 2013




                                                                             Page Subtotals:                                                       $81,319.50            $12,000.00
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                     Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                  Bank Name: BANCO SANTANDER
                                                                                                           Account Number/CD#: XXXXXX5197
                                                                                                                                    Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                       Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                      Separate Bond (if applicable):


       1                2                             3                                       4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From               Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                 Code                                                              ($)
   02/04/14           3139        RM SECURITY AND SURVEILANCE         SECURITY SERVICE INV #13                             2990-000                                     $23,034.96             $79,213.22
                                  GROUP CORP                          --111, INV #13-112; #13-128;
                                                                      #13-130; #14-103 AND #14-
                                                                      106
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      February 4, 2013
   02/04/14           3140        MARTINA MERCEDES                    INV #3312007 AND #33-00129                           2990-000                                       $1,400.00            $77,813.22
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      February 4, 2013
   02/04/14           3141        LUIS VELEZ                          iNVOICE #3311015; #3312006                           2990-000                                       $3,300.00            $74,513.22
                                                                      AND #3300128
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      February 4, 2013
   02/04/14           3142        ALLIED WASTE                        Acct #0812-0104056                                   2990-000                                           $236.67          $74,276.55
                                  PO BOX 51986TOA BAJA PR 00950-
                                  1986                                Approved by H Del Rio
                                                                      Reference email dated
                                                                      February 4, 2013
   02/04/14           3143        AUTORIDAD ACUEDUCTOS                Acct 00021926223-5 Acct                              2990-000                                       $1,498.25            $72,778.30
                                  ALCANTARILLADO                      00021926993-3
                                  & Alcantarillado                    Approved by H Del Rio
                                                                      Reference email dated
                                                                      December 12, 2013
   02/04/14           3144        AUTORIDAD DE ENERGIA ELECTRICA      ACCT #8059702000                                     2990-000                                           $837.57          $71,940.73
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      February 4, 2013
   02/04/14           3145        RE/MAX DORADO                       Refund- Check paid to Dorado                         2990-000                                           $106.00          $71,834.73
                                                                      Lock & Key Invoice #00176
                                                                      Approved by H Del Rio
                                                                      Reference email dated
                                                                      February 4, 2013
   02/13/14             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                               1290-000                    $555.53                                 $72,390.26
                                  TR




                                                                            Page Subtotals:                                                            $555.53          $30,413.45
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                                                                                                                                                                                              Page:       25
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                                                                         FORM 2
                                                                                  Entered:10/17/17 16:15:17                                             Desc: Main
                                                               Document     Page  34 of 39 RECORD
                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                        4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                              ($)
   02/13/14             3         SUNSHINE CAR WASH & DETAILING       Collection monthly rent                               1122-000                    $550.00                                 $72,940.26
                                                                      This funds was collected and
                                                                      deposited by Debtor
                                                                      Administrator, the information
                                                                      was received and reported on
                                                                      February 13, 2014
   02/28/14             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $6.53                                 $72,946.79

   03/10/14             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $569.30                                 $73,516.09
                                  TR

   03/31/14             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $6.32                                 $73,522.41

   04/07/14             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $569.23                                 $74,091.64
                                  TR

   04/30/14             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $6.16                                 $74,097.80

   05/05/14             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $569.23                                 $74,667.03
                                  TR

   05/30/14             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $6.21                                 $74,673.24

   06/05/14             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $569.22                                 $75,242.46
                                  TR

   06/30/14             1         BANCO SANTANDER, P.R.               Interest Rate 0.100                                   1270-000                      $0.42                                 $75,242.88

   07/07/14             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $587.84                                 $75,830.72
                                  TR

   08/06/14             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $587.50                                 $76,418.22
                                  TR
                                  CHAPTER 13 TRUSTEE
   09/18/14           3146        INTERNATIONAL SURETIES, LTD.        Blanket Bond                                          2300-000                                           $166.10          $76,252.12
                                  SUITE 420701 POYDRAS STNEW          Per order entered on October
                                  ORLEANS LA 70139                    20, 2014. Refer to docket 216-
                                                                      215.

                                                                             Page Subtotals:                                                         $4,027.96                 $166.10
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                                   Case:12-00207-BKT7 Doc#:248 Filed:10/17/17
                                                                         FORM 2
                                                                                  Entered:10/17/17 16:15:17                                             Desc: Main
                                                               Document     Page  35 of 39 RECORD
                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                      Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                   Bank Name: BANCO SANTANDER
                                                                                                            Account Number/CD#: XXXXXX5197
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                        4                                                    5                      6                     7

Transaction Date    Check or                Paid To / Received From                Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                  Code                                                              ($)
   10/01/14             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $602.80                                 $76,854.92
                                  TR

   10/08/14             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $565.72                                 $77,420.64
                                  TR

   04/06/15             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                 $3,397.08                                  $80,817.72
                                  TR

   06/05/15             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                 $1,132.36                                  $81,950.08
                                  TR

   08/07/15             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                 $1,132.36                                  $83,082.44
                                  TR

   09/09/15           3147        INTERNATIONAL SURETIES, LTD.        Blanket bond                                          2300-000                                           $197.74          $82,884.70
                                  SUITE 420701 POYDRAS ST.NEW         Per order entered September
                                  ORLEANS, LA 70139                   15, 2015. Refer to docket 221
                                                                      and 219.
   10/05/15             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                 $1,698.54                                  $84,583.24
                                  TR

   12/07/15             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                 $1,114.09                                  $85,697.33
                                  TR

   03/03/16             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                 $1,114.09                                  $86,811.42
                                  TR

   05/06/16             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                 $1,114.09                                  $87,925.51
                                  TR

   06/06/16             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                 $1,114.10                                  $89,039.61
                                  TR

   07/07/16             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                1290-000                    $557.04                                 $89,596.65
                                  TR




                                                                             Page Subtotals:                                                       $13,542.27                  $197.74
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                                                                                                                                                                                                 Page:       27
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                                                                                  Entered:10/17/17 16:15:17                                                Desc: Main
                                                               Document     Page  36 of 39 RECORD
                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                         Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                                  Exhibit 9
      Case Name: CORAL CORPORATION                                                                                      Bank Name: BANCO SANTANDER
                                                                                                              Account Number/CD#: XXXXXX5197
                                                                                                                                        Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                           Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                          Separate Bond (if applicable):


       1                2                             3                                          4                                                     5                      6                     7

Transaction Date    Check or                Paid To / Received From                  Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                     Code                                                              ($)
   10/04/16           3148        INTERNATIONAL SURETIES, LTD.         BLANKET BOND                                            2300-000                                           $202.82          $89,393.83
                                  ONE SHELL SQUARE701 POYDRAS          Per Order entered on October
                                  STREET SUITE 420NEW ORLEANS, LA      27, 2016- Refer to dockets
                                  70139                                #228 and #230
   11/07/16             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                   1290-000                 $1,187.16                                  $90,580.99
                                  TR

   12/06/16             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                   1290-000                 $1,680.28                                  $92,261.27
                                  TR

   02/28/17           3149        LUGO MENDER, WIGBERTO                As per Court Order entered on                           2200-000                                            $96.53          $92,164.74
                                  Centro Internacional de MercadeoRd   February 28, 2017
                                  #165 Torre 1 Suite 501Guaynabo, PR   [Reimbursed Expenses]
                                  00968                                Refer to docket #238 and #239
   03/20/17             2         ALEJANDRO OLIVERAS RIVERA, CH 13 Claim under case 11-10609                                   1290-000                    $579.41                                 $92,744.15
                                  TR

   07/03/17           3150        OFFICE OF THE U. S. TRUSTEE          Final distribution to claim 5                           2950-000                                           $650.00          $92,094.15
                                  OCHOA BUILDING                       representing a payment of
                                  500 TANCA STREET, SUITE 301          100.00 % per court order.
                                  SAN JUAN, PR 00901-1938
   07/03/17           3151        WIGBERTO LUGO-MENDER                 Final distribution representing a                       2100-000                                     $30,825.27             $61,268.88
                                  100 CARR 165 STE 501                 payment of 100.00 % per court
                                  GUAYNABO, PR 00968-8052              order.
   07/03/17           3152        WIGBERTO LUGO-MENDER                 Final distribution representing a                       2200-000                                            $37.36          $61,231.52
                                  100 CARR 165 STE 501                 payment of 11.55 % per court
                                  GUAYNABO, PR 00968-8052              order.
   07/03/17           3153        AEE                                  Final distribution to claim 1                           7100-000                                           $137.63          $61,093.89
                                  PO BOX 364267                        representing a payment of 2.20
                                  SAN JUAN, PR 00936-4267              % per court order.
   07/03/17           3154        PR ACQUISITIONS LLC                  Final distribution to claim 2                           7100-000                                           $385.13          $60,708.76
                                  250 MUNOZ RIVERA AVENUE SUITE        representing a payment of 2.20
                                  1200                                 % per court order.
                                  HATO REY, PR 00918
   07/03/17           3155        CRIM                                 Final distribution to claim 3                           7100-000                                           $417.13          $60,291.63
                                  PO BOX 195387                        representing a payment of 2.20
                                  SAN JUAN, PR 00919-5387              % per court order.



                                                                               Page Subtotals:                                                          $3,446.85           $32,751.87
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                                                                         FORM 2
                                                                                  Entered:10/17/17 16:15:17                                            Desc: Main
                                                               Document     Page  37 of 39 RECORD
                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                        Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                             Exhibit 9
      Case Name: CORAL CORPORATION                                                                                    Bank Name: BANCO SANTANDER
                                                                                                             Account Number/CD#: XXXXXX5197
                                                                                                                                    Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                       Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                      Separate Bond (if applicable):


       1                2                             3                                        4                                                   5                      6                   7

Transaction Date    Check or                Paid To / Received From               Description of Transaction               Uniform Tran.      Deposits ($)      Disbursements ($)     Account/CD Balance
                    Reference                                                                                                  Code                                                           ($)
   07/03/17           3156        PRLP 2011 HOLDING LLC               Final distribution to claim 4                          7100-000                                  $60,291.63                  $0.00
                                  IN SUSTITUTION OF BPPR              representing a payment of 2.20
                                  LCDA MONIQUE J DIAZ                 % per court order.
                                  PO BOX, 364225
                                  SAN JUAN PR


                                                                                                       COLUMN TOTALS                             $551,505.49          $551,505.49
                                                                                                             Less: Bank Transfers/CD's            $14,811.66                  $0.00
                                                                                                       Subtotal                                  $536,693.83          $551,505.49
                                                                                                             Less: Payments to Debtors                  $0.00                 $0.00
                                                                                                       Net                                       $536,693.83          $551,505.49




                                                                             Page Subtotals:                                                            $0.00          $60,291.63
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                                                                         FORM 2
                                                                                  Entered:10/17/17 16:15:17                                             Desc: Main
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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 12-00207                                                                                         Trustee Name: WIGBERTO LUGO-MENDER, TRUSTEE                             Exhibit 9
      Case Name: CORAL CORPORATION                                                                                     Bank Name: BANCO SANTANDER
                                                                                                              Account Number/CD#: XXXXXX6495
                                                                                                                                     Banco Santander, P.R. - Checking Ac
  Taxpayer ID No: XX-XXX8917                                                                        Blanket Bond (per case limit): $19,330,424.00
For Period Ending: 09/08/2017                                                                       Separate Bond (if applicable):


       1                2                             3                                        4                                                    5                      6                   7

Transaction Date    Check or                Paid To / Received From                Description of Transaction               Uniform Tran.      Deposits ($)      Disbursements ($)     Account/CD Balance
                    Reference                                                                                                   Code                                                           ($)
   05/06/13             2         ALEJANDRO OLIVERAS RIVERA           Claim #2 under case 11-10609                            1290-000             $14,811.66                                 $14,811.66
                                  Sindico Ch 13
   05/06/13                       Transfer to Acct # XXXXXX5197       Bank Funds Transfer                                     9999-000                                  $14,811.66                  $0.00
                                                                      Transfer posted to recognized
                                                                      funds deposited on this account
                                                                      originally [Data entry error]
                                                                      Claim #2 under case 11-10609


                                                                                                       COLUMN TOTALS                               $14,811.66           $14,811.66
                                                                                                              Less: Bank Transfers/CD's                  $0.00          $14,811.66
                                                                                                       Subtotal                                    $14,811.66                  $0.00
                                                                                                              Less: Payments to Debtors                  $0.00                 $0.00
                                                                                                        Net                                        $14,811.66                  $0.00




                                                                             Page Subtotals:                                                       $14,811.66           $14,811.66
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                                                     Document Page 39 of 39
                                                                                                                                                             Exhibit 9
                                                                                       TOTAL OF ALL ACCOUNTS
                                                                                                                                        NET             ACCOUNT
                                                                                                     NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                            XXXXXX5197 - Banco Santander, P.R. -                         $536,693.83            $551,505.49                  $0.00
                                            Checking Ac
                                            XXXXXX6495 - Banco Santander, P.R. -                          $14,811.66                   $0.00                 $0.00
                                            Checking Ac
                                                                                                         $551,505.49            $551,505.49                  $0.00

                                                                                                    (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                            transfers)            to debtors)
                                            Total Allocation Receipts:                      $0.00
                                            Total Net Deposits:                       $551,505.49
                                            Total Gross Receipts:                     $551,505.49




                                                                    Page Subtotals:                                        $0.00                $0.00
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